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10 Attorneys for Plaintiff
11
                              UNITED STATES DISTRICT COURT
12
                             NORTHERN DISTRICT OF CALIFORNIA
13
                                  SAN FRANCISCO DIVISION
14
15
     UNITED STATES OF AMERICA,                   )    No.: CR 05-0375 SI
16                                               )
            Plaintiff,                           )    UNITED STATES’ APPLICATION
17                                               )    FOR LEAVE TO FILE OVERSIZE
                                                 )    BRIEF; AND PROPOSED ORDER
18     v.                                        )
                                                 )
19                                               )
     RICHARD WONG,                               )    Hearing:     October 27, 2006
20                                               )    Time:        11:00 a.m.
            Defendant.                           )    Place:       Courtroom 10 (19 th Fl.)
21                                               )
                                                 )    Excludible Time: September 12, 2006
22                                               )    through disposition, per 18 U.S.C. §
                                                 )    3161(h)(1)(F)
23
24
25                                       APPLICATION
26          The United States respectfully requests permission pursuant to Criminal Local Rule
27 47-2(d), which refers to Civil Local Rule 7-4(b), to file an Opposition memorandum to
28 defendant Wong’s 29-page brief in support of his motion to dismiss the pending

     APP. FOR LEAVE TO FILE
     OVERSIZE BRIEF; AND
     PROPOSED ORDER THEREON
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1    indictment, which exceeds twenty-five pages of text.
2           In support of this application, the United States submits that the defendant’s
3    memorandum in support of his motion is 29 pages in length, and that it raises numerous
4    issues bearing on alleged constitutional issues. To adequately address the law relevant to
5    the motion, the United States respectfully requests that the Court permit the filing of the
6    accompanying 29-page Opposition memorandum. The United States submits herewith a
7    [Proposed] Order, with the accompanying proposed Opposition memorandum.
8
9    Dated: October 5, 2006             Respectfully submitted,
10                                      KEVIN V. RYAN
                                        United States Attorney
11
12
                                                  /S/
13                                      ANDREW M. SCOBLE
                                        ALEXIS HUNTER
14                                      Assistant United States Attorneys
15
16
17
            [PROPOSED] ORDER GRANTING LEAVE TO FILE OVERSIZE BRIEF
18
            For good cause appearing, the Court hereby GRANTS leave to the United States to
19
     file an oversize brief (of 29 pages in text) in consolidated opposition to defendant Richard
20
     Wong’s motion to dismiss the pending indictment.
21
22
23 Dated:
                                                HON. SUSAN ILLSTON
24                                              United States District Judge
25
26
27
28

     APP. FOR LEAVE TO FILE
     OVERSIZE BRIEF; AND
     PROPOSED ORDER THEREON                        2
